ILND 450 (Rev.Case:    1:18-cv-07335
              04/29/2016)                     Document
                          Judgment in a Civil Action     #: 182 Filed: 09/30/22 Page 1 of 1 PageID #:8314

                            IN THE UNITED STATES DISTRICT COURT FOR THE
                                   NORTHERN DISTRICT OF ILLINOIS

John Doe,

Plaintiff,
                                                                 Case No. 1:18-cv-7335
v.                                                               Judge Steven C. Seeger

Loyola University Chicago,

Defendant.

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff
                 and against defendants
                 in the amount of $     ,

                          which        includes       pre–judgment interest.
                                       does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s) Loyola University Chicago
                 and against plaintiff(s) John Doe


                 other:

This action was (check one):

     tried by a jury with Judge         presiding, and the jury has rendered a verdict.
     tried by Judge         without a jury and the above decision was reached.
     decided by Judge Steven C. Seeger on defendant’s motion for summary judgment (Dckt. No. [130]).
     Civil case terminated.


Date: 9/30/2022                                               Thomas G. Bruton, Clerk of Court

                                                              Jessica J. Ramos, Deputy Clerk
